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                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.            CR 15-00141-ODW

 Defendant          David DeMulle                                           Social Security No. N         O   N    E
 akas:                                                                      (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY   YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.   Oct.    12    2021

  COUNSEL                                                                 Carel Ale, DFPD
                                                                           (Name of Counsel)

     PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                              CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 1s: 18:922(g)(1): Prohibited Person in Possession of Firearms and Ammunition
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
                    (15) months PROBATION on Count 1 of the First Superseding Information, under the
                    following terms and conditions:

         1.         The defendant shall comply with the rules and regulations of the U. S. Probation Office,
                    second amended General Order 20-04;

         2.         During the period of community supervision, the defendant shall pay the special
                    assessment in accordance with this judgment's orders pertaining to such payment.

         3.         The defendant shall not obtain or possess any driver's license, Social Security number,
                    birth certificate, passport or any other form of identification in any name, other than the
                    defendant's true legal name, nor shall the defendant use, any name other than his true
                    legal name without the prior written approval of the Probation Officer.

         4.         Defendant shall not be employed in any position that requires licensing and/or
                    certification by any local,state or federal agency without the written approval of the
                    Probation Officer;

         5.         The defendant shall cooperate in the collection of a DNA sample from himself;

         6.         The defendant shall submit his or her person, property, residence, cell phone, vehicle,
                    computers, or any other electronic communications or data storage devices or media and
                    personal effects to seach at any time with or without a warrant by any law enforcement or
                    a United States Probation Officer or law enforcement officer with reasonable suspicion
                    concerning a violation of a condition of probation or unlawful conduct by the defendant

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                     and by any probation officer in the lawful discharge of the probation officer’s supervision
                     or function.

         7.          The defendant shall not possess any firearms, ammunition, or any destructive device or a
                     dangerous weapon.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established an inability to pay any fine.


The property identified in the preliminary order of forfeiture is subject to forfeiture and that preliminary
order is incorporated by reference into this judgment and is final.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
 and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
 the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
 a warrant and revoke supervision for a violation occurring during the supervision period.




            October 12, 2021
            Date                                                         U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
 officer.

                                                                         Clerk, U.S. District Court



            October 12, 2021                                 By          S. English /s/
            Filed Date                                                   Deputy Clerk


 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                            STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or                   10.     the defendant shall not associate with any persons engaged
       local crime;                                                                       in criminal activity, and shall not associate with any person
 2.    the defendant shall not leave the judicial district without the                    convicted of a felony unless granted permission to do so by
       written permission of the court or probation officer;                              the probation officer;
 3.    the defendant shall report to the probation officer as                     11.     the defendant shall permit a probation officer to visit him or
       directed by the court or probation officer and shall submit                        her at any time at home or elsewhere and shall permit
       a truthful and complete written report within the first five                       confiscation of any contraband observed in plain view by
       days of each month;                                                                the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the                 12.     the defendant shall notify the probation officer within 72
       probation officer and follow the instructions of the                               hours of being arrested or questioned by a law enforcement
       probation officer;                                                                 officer;
 5.    the defendant shall support his or her dependents and meet                 13.     the defendant shall not enter into any agreement to act as an
       other family responsibilities;                                                     informer or a special agent of a law enforcement agency
 6.    the defendant shall work regularly at a lawful occupation                          without the permission of the court;
       unless excused by the probation officer for schooling,                     14.     as directed by the probation officer, the defendant shall
       training, or other acceptable reasons;                                             notify third parties of risks that may be occasioned by the
 7.    the defendant shall notify the probation officer at least 10                       defendant’s criminal record or personal history or
       days prior to any change in residence or employment;                               characteristics, and shall permit the probation officer to
 8.    the defendant shall refrain from excessive use of alcohol                          make such notifications and to conform the defendant’s
       and shall not purchase, possess, use, distribute, or                               compliance with such notification requirement;
       administer any narcotic or other controlled substance, or                  15.     the defendant shall, upon release from any period of
       any paraphernalia related to such substances, except as                            custody, report to the probation officer within 72 hours;
       prescribed by a physician;                                                 16.     and, for felony cases only: not possess a firearm, destructive
 9.    the defendant shall not frequent places where controlled                           device, or any other dangerous weapon.
       substances are illegally sold, used, distributed or
       administered;


       The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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      STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine
 or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments
 may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution
 , however, are not applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay
 the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address
 or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

           The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change
 in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
 §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party
 or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3)
 and for probation 18 U.S.C. §3563(a)(7).

           Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence:
                                Private victims (individual and corporate),
                                Providers of compensation to private victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.




                           SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not
 apply for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank
 accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

          The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                            These conditions are in addition to any other conditions imposed by this judgment.




                                                                 RETURN

 I have executed the within Judgment and Commitment as follows:

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 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal
 determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                      By
            Date                                                     Deputy Marshal




                                                             CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
 and in my legal custody.

                                                                     Clerk, U.S. District Court


                                                      By
            Filed Date                                               Deputy Clerk




                                            FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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